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UNITED STATESOF AMERICA,

                    Plaintiff,

                                                     CaseNo. 1:04-CR-00016-01

WILLIE BROWN,

                     Defendant.


                                        ORDER

      onJune22,zols,theGovemmentfiledamotionseekinganotderftomthisCourt

directing the Bureauof Prisonsto tumover to the Clerk of the Court funds held in the inmate

trust accountfor the DefendantWillie Brown as payrnentfor the criminal monetary penalties

imposedin this case. As setforth in the govemmant'smotion,the Bureauof Prisonsmaintains

in its possession,custody,or control approximately$11,167.91in funds belongingto the

Defendantthat arecurrentlyin the Defendant'strust account'

                        of 18 u.s.c. $$ 3613(a)and 3664(n),and finding causeexiststo
       upon consideration

grantthe motion,IT IS IIEREBY ORDERED that the Govemment'smotion is GRANTED'

IT IS FURTIIER ORDERED that the Bureauof Prisonsshall tumover to the Clerk of Court

for the SouthemDistrict of Georgiaal1but $100.00of the funds culrently held in the trust

accountfor the followinginmate:

       Willie Brown
       Register# 11825-021
       FCI Miami
       P.O.Box 779800
       Miami,FL 33177

The Bureauof Prisonsshall mail the checkmadepayableto the Clerk, United StatesDistrict
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Court,to the followingaddress:

      UnitedStatesDistrict Court
      Attn: MichaelA. Groover
      FinancialAdministrator
      P.O.Box 8286
      Savannah, GA 31412

The Clerk of Court shall apply saidfunds as paymenttowardthe criminal monetarypenalties

owedby theDefendantin this case.

      The Clerk shall servea copy of this Order upon the Govemment,DefendantWillie

                         anduponthe district'sFinatq$11\linistratot.
Brown at the aboveaddress,

      ORDERENTER-EDat Augusta.      ,6i"ffiuro]:une.
                             Georgia.                             zots.




                                               HON.DUD    H. BOWEN,JR.
                                                         COURTruDGE
                                               SOUTHERNDISTRICTOF GEORGIA
